Case 2:02-cr-01298-DRH       Document 225       Filed 08/04/06    Page 1 of 2 PageID #: 273




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------X
 UNITED STATES OF AMERICA,

                             Plaintiff,                  MEMORANDUM & ORDER
               - against -                               02 Civ. 1298 (DRH)

 FRANCINE SWEET,

                    Defendant.
 ----------------------------------X

 APPEARANCES :

 FOR THE GOVERNMENT:
      Roslynn R. Mauskopf
      United States Attorney
      Eastern District of New York
      One Pierrrepont Plaza
      Brooklyn, NY 11201
             By: Geoffrey Kaiser, A.U.S.A.

 FOR THE DEFENDANT:
      Scott E. Leemon, P.C.
      260 Madison Ave., 20 th Floor
      New York, NY 10016

 HURLEY, District Judge:

        The Court is in receipt of two pro se letters prepared by defendant, in which she

 requests that the Court reconsider its May 12, 2006 Order, and make certain

 recommendations, presumably to the Bureau of Prisons, to allow her to “complete the rest

 of [her] time in the halfway house or give [her] additional time on supervise[d] release.”

 (July 5, 2006 Letter.) In the May 12, 2006 Order, I, in the exercise of my discretion,
Case 2:02-cr-01298-DRH      Document 225     Filed 08/04/06   Page 2 of 2 PageID #: 274




 declined to make those requested recommendations to the BOP, and I see no reason to

 deviate from that decision now.

 SO ORDERED.

 Dated:       August 5, 2006
              Central Islip, New York                            /s/
                                                      Denis R. Hurley,
                                                      United States District Judge




                                           -2-
